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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 10-5860 SVW (CW)                                             Date   October 4, 2010
 Title             Stephen Yagman v. Erwin Meinberg




 Present: The                    Carla M. Woehrle, United States Magistrate Judge
 Honorable
           Donna Y. Thomas                                       n/a                           C.S. 10/4/10
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                   Stephen Yagman (pro se)                                   Eliezer Ben-Schmuel
 Proceedings:                 Hearing re: Respondent’s motion to dismiss (docket no. 5), Petitioner’s
                              motion for bail (docket no. 10), and Petitioner’s motion for sanctions (docket
                              no. 27).

         1.         Petitioner’s motion for bail (docket no. 10, filed August 9, 2010) is WITHDRAWN.

         2.         Petitioner’s motion for sanctions (docket no. 27, filed August 24, 2010) is DENIED.

         3.         Respondent’s motion to dismiss (docket no. 5, filed August 11, 2010) is DENIED.

        4.     Respondent’s answer shall be filed on or before October 7, 2010, and shall address the
merits of the petition and the question of Petitioner’s place of confinement during the pendency of the
petition.

         5.         Petitioner’s reply shall be filed on or before October 14, 2010.

         6.         When briefing is complete the court will issue further orders as appropriate.


cc:      Petitioner and Counsel of Record




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